                                                                                                    (1 of 27)
  Case 4:17-cv-05195-SAB  ECF No.3-1,
         Case: 17-1343, Document: 1-4 Filed:
                                       filed 11/22/2017
                                             11/22/17 PageID.27 Page
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                       U.S. Bankruptcy Appellate Panel
                              of the Ninth Circuit
                         125 South Grand Avenue, Pasadena, California 91105
                            Appeals from Central California (626) 229-7220        Nov 22, 2017
                             Appeals from all other Districts (626) 229-7225


                                                                         4:17-CV-5195-SAB
 In Re: KENNEWICK PUBLIC
                                                   BAP No.: EW-17-1343
        HOSPITAL DISTRICT
 Bk. Ct. No.: 2:17-bk-02025                        RE: Notice of Appeal (Bk.Ct. Doc#: 484)



              NOTICE OF TRANSFER OF APPEAL TO DISTRICT COURT

A party to the appeal has timely filed an objection (statement of election) to the disposition of
this matter by the Bankruptcy Appellate Panel. See 28 USC Section 158. Consequently, this
appeal is herewith transferred to the U.S. District Court (Spokane, WA).

Please acknowledge receipt of the case file listed above by signing and returning a copy of this
transmittal form.

Susan M Spraul, BAP Clerk

By: Vincent Barbato, Deputy Clerk
Date: November 22, 2017

                                               Please acknowledge receipt of
                                               the case file listed above.
                                               Dated:_______________________

                                               Signed:______________________
                                                        District Court Deputy

                                               Assigned District Court No.

                                               _____________________________
cc: Bankruptcy Court
     All Parties
